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 2
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     Attorney for Defendant
 5
     ANN MARIE VANCE
 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:17-CR-237 JAM
12
                      Plaintiff,
13
     vs.                                                STIPULATION AND ORDER
14                                                      CONTINUING STATUS CONFERENCE
     ANN MARIE VANCE,                                   AND EXCLUDING TIME UNDER THE
15                                                      SPEEDY TRIAL ACT
16                    Defendant.
                                                        Date:       March 5, 2019
17                                                      Time:       9:15 a.m.
                                                        Court:      Hon. John A. Mendez
18

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21          Plaintiff United States of America by and through Assistant United States Attorney
22
     Timothy Delgado, and Attorney Todd Leras on behalf of Defendant Ann Marie Vance, stipulate
23
     as follows:
24
            1. This matter is presently set for a status conference on February 19, 2019.
25

26          2. By this stipulation, Defendant Vance moves to continue the status conference to

27                 March 5, 2019. The parties are engaged in settlement discussions and are preparing
     ORDER CONTINUING STATUS
28   CONFERENCE
            Case 2:17-cr-00237-JAM Document 52 Filed 02/15/19 Page 2 of 4


 1           to finalize the terms of a written plea agreement.
 2
          3. Ms. Vance is presently held in pre-trial detention at the Wayne Brown Correctional
 3
             Facility in Nevada City, California, a distance of approximately sixty-five miles and
 4
             slightly more than an hour drive from her counsel’s office. Attorney Leras needs
 5

 6           time to review the final plea agreement with Ms. Vance and prepare her for a change

 7           of plea hearing. In addition, Attorney Leras needs additional time to review the
 8
             potential implications of the recently-enacted First Step Act in this case with Ms.
 9
             Vance. Defendant Vance therefore requests to continue the status conference to
10
             March 5, 2019, at 9:15 a.m., for a possible change of plea hearing, and to exclude
11

12           time between February 19, 2019 and March 5, 2019 under Local Code T-4. The

13           United States does not oppose this request.
14
          4. Attorney Leras represents and believes that failure to grant additional time as
15
             requested would deny Defendant Vance the reasonable time necessary for effective
16
             preparation, considering the exercise of due diligence.
17

18        5. Based on the above-stated facts, Defendant Vance requests that the Court find that the

19           ends of justice served by continuing the case as requested outweigh the best interest
20
             of the public and the Defendant in a trial within the time prescribed by the Speedy
21
             Trial Act.
22
          6. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
23

24           seq., within which trial must commence, the time period of February 19, 2019 to

25           March 5, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. §
26
             3161(h)(7)(A), and (B) (iv) [Local Code T-4] because it results from a continuance
27
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 1              granted by the Court at Defendant Vance’s request on the basis that the ends of
 2
                justice served by taking such action outweigh the best interest of the public and the
 3
                Defendant in a speedy trial.
 4
            7. Nothing in this stipulation and order shall preclude a finding that other provisions of
 5

 6              the Speedy Trial Act dictate that additional time periods are excludable from the

 7              period within which a trial must commence.
 8
            Assistant U.S. Attorney Timothy Delgado has reviewed this proposed order and
 9
     authorized Todd Leras via telephone call to sign it on his behalf.
10

11
     DATED: February 14, 2019
12                                                        By      Todd D. Leras for
                                                                  TIMOTHY DELGADO
13                                                                Assistant United States Attorney
14

15   DATED: February 14, 2019
                                                          By      /s/ Todd D. Leras
16                                                                TODD D. LERAS
                                                                  Attorney for Defendant
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                                                                  ANN MARIE VANCE
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28   CONFERENCE
               Case 2:17-cr-00237-JAM Document 52 Filed 02/15/19 Page 4 of 4


 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for February 19, 2019, is
 4
     vacated. A new status conference is scheduled for March 5, 2019, at 9:15 a.m. The Court
 5

 6   further finds, based on the representations of the parties and Defendant Vance’s request, that the

 7   ends of justice served by granting the continuance outweigh the best interests of the public and
 8
     the defendants in a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from February 19, 2019, up to and
11

12   including March 5, 2019.

13

14
     DATED: February 14, 2019
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16
                                                        /s/ John A. Mendez
17
                                                       HONORABLE JOHN A. MENDEZ
18                                                     UNITED STATES DISTRICT COURT

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     ORDER CONTINUING STATUS
28   CONFERENCE
